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                                                                               Page 1
1
2    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
 3    —   —   —   —   —   —   —    —   —   —   —   —    —   —   —    —X
     STEVEN E. GREER, MD
 4   an individual,
 5                                                     Plaintiff,
 6              -against-
     Dennis Mehiel, an individual, Robert
     Serpico, an individual, The Battery Park
 8   City Authority, a New York State authority,
     Howard Milstein, an individual, Steven
 9   Rossi, an individual, Janet Martin, an
     individual, Milford Management, a New York
io   Corporation, and Mariners Cove Site B
     Associates, a New York corporation.
11
                                                                Defendants.
12
      —   —   —   —   —   —   —    —   —   —   —   —    —   —    —   —X
13
14
                              CONFIDENTIAL
15
16
17   DEPOSITION OF KIRK SWANSON
     New York, New York
18   March 21, 2017
19
20
21
22
23

     Reported by:
24   pessi Goldstein
     JOB N0. 121382
25


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                                                                         Page 2 ~
 1

 2                                           March 21, 2017

                                             2:07 P.m.
 3

 4

 5           DEPOSITION of KIRK SWANSON, a
 6   Non-Party Witness herein, held at the United

     States District Court, Southern District of
 8   New York, 500 Pearl Street, New York, NY
 9   10007, taken before Pessi Goldstein, a
io   shorthand reporter and Notary Public within
11   and for the State of New York.
12

13                     *            *          ~

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                                                                        Page 3
 1

2    A P P E A R A N C E S
3

 4           STEVEN E. GREER, MD
                    Plaintiff Pro Se
 5
 6

 ~           SHER TREMONTE
                    Attorneys for Defendants
 g                  Robert Michael Serpico
                    Battery Park City Authority
 ~                  80 Broad Street
                    New York, NY             10004
10           BY;    MICHAEL TREMONTE, ESQ.
                    MICHAEL GIBALDI, ESQ.
11                  JUSTIN GUNNELL, ESQ.
12

             ROSENBERG & ESTIS
13                  Attorneys        for
                    Remaining        Defendants
14                  733 Third        Avenue
                    New York,        NY  10017
15           BY:    DEBORAH RIEGEL, ESQ.
16
17

             GISKAN SOLOTAROFF & ANDERSON
18                  Attorneys for the Witness
                    11 Broadway
19                  New York, NY 10004
             BY:    JASON SOLOTAROFF, ESQ.
20
21

     ALSO PRESENT:
22                        ALIX S. PUSTILNIK
                       General Counsel for BPCA
23
24
25


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 1                KIRK SWANSON - CONFIDENTIAL

2            the scope of permitted discovery.

 3                  MR. SOLOTAROFF:                   I'm going to

 4           direct him not to answer.

5            Q.     Well, this address you mention

6    it, tell me what you can, what your lawyer

 ~   is comfortable with, you're suing the BPCA,

 8   why?    Whatever you're --

 g                  MS. RIEGEL:             Objection, beyond
to           the scope of permitted discovery.
11                  DR. GREER:            It's public
12           information.

13                  MR. SOLOTAROFF:                   Yes, again, I

14           don't want Mr. Swanson somehow to say

15           something that would be held against

16           him in his own deposition.

17                  DR. GREER:            Sure, I'm just trying

18           to put it on the record.

19           Q.     Is it true that you were fired

20   from the BPCA and you are now suing?

21           A.     Yes .

22                  DR. GREER:            That is all I have

23           for   now.

24                  MR. TREMONTE:               Can we take a

25           quick break?


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 1                KIRK SWANSON - CONFIDENTIAL

 2                  MR. SOLOTAROFF:                  Sure.
 3                                   ***

 4                   (Whereupon, a recess was taken

 5                at this time.)
 6                                   ***

 ~           Q.      Mr. Swanson, I didn't quite ask

 g   this right.       Do you believe, is it your

 9   opinion that Robert Serpico was involved in
10   my eviction or non-renewal of my lease, and
11   if so, why?
12                   MR. TREMONTE:             Objection to form.
13           A.      Yes, almost immediately
14   afterwards Kevin and I were down at the far
15   end of that hall closer to Bob's office and
16   Bob crossed our path.               And I asked Bob if he

17   had anything to do with Greer not getting

18   his lease renewed, to which Bob visibly
19   smirked, shrugged and didn't answer my
20   question and walked away.
21           Q.      Was that January 21st?
22           A.      That was that same day.
23           Q.      Thank you.
24           A.      Shortly after Kevin approached
25   me .



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1                 KIRK SWANSON - CONFIDENTIAL

2    colluded with somebody else to remove a

 3   blogger, even a disagreeable one at that,

 4   from his place of residence.                       I found that

5    objectionable and that's something that I

 6   brought up in conversation.

 ~           Q.     And this conviction that you

 8   formed, I believe you said you became

 9   convinced; correct?
to           A.     The second I saw Bob's reaction
11   to my question, yes.
12           Q.     Did you become convinced based on
13   anything else that Bob said or did?
14           A.     You would have to, over a pattern
15   of behavior over my tenure at the BPCA, it's
16   certainly something that I would place in

l~   his capacity.

18           Q.     You placed in his capacity but I
19   asked you a different question.                          Did

20   anything else that Mr. Serpico did after
21   that encounter in the hallway -- let's just
22   break this down.            Did he say anything
23   further to you that further supported the
24   conclusion that you drew from his gesture?
25           A.     No.


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                                                                          Page 54
 1                                    CERTIFICATION
 2

 3

 4       I,   Pessi Goldstein, a Notary Public for and within the
 5   State of New York, do hereby certify:
 6       That the witness whose testimony as herein set forth, was
 7   duly sworn by me; and that the within transcript is a true record
 8   of the testimony given by said witness.
 9       I further certify that I am not related to any of the
10   parties to this action by blood or marriage, and that I am in no
11   way interested in the outcome of this matter.
12       IN WITNESS WHEREOF, I have hereunto set my hand this 24th day
13   of March 2017.
14

15


                      _______________________
16                            PESSI GOLDSTEIN
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